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           6 Attorneys for Defendant
             DANIEL ARMSTRONG
           7
           8
                                           UNITED STATES DISTRICT COURT
           9
                                          NORTHERN DISTRICT OF CALIFORNIA
          10
          11                                     OAKLAND DIVISION
          12
                                                                  Case No. CR 06-0336-SBA
          13 UNITED STATES OF AMERICA,
                                     Plaintiff,                   STIPULATION AND ORDER FOR
          14
                                                                  CONTINUANCE AND EXCLUSION
          15                                                      OF TIME UNDER THE SPEEDY
                        v.                                        TRIAL ACT, 18 U.S.C. § 3161 ET.
          16
                                                                  SEQ.
          17 SHAREEF HASTINGS, TERRI SCOTT,
             JACKSON GRANT, AMANDA DE LA                          Judge: Hon. Saundra Brown Armstrong
          18 MERCED, and DANIEL ARMSTRONG,
          19
                                               Defendants.
          20
          21
          22
                I.      INTRODUCTION
          23            On May 30, 2006, defendant Daniel Armstrong appeared before Magistrate Judge
          24 Brazil during which a Status/Trial Setting hearing was set for June 13, 2006 before Judge
          25 Armstrong in the above-captioned matter. Separately, on May 30, 2006, this Court held a
          26 status conference for defendant Shareef Hastings at which time a further status hearing was
          27 scheduled for June 27, 2006 before Judge Armstrong. On May 31, 2006, defendant Jackson
Heller     28   Grant was arraigned before Magistrate Judge Brazil and a Status/Trial Setting hearing was
Ehrman LLP
                                                            1
                STIPULATION AND [PROPOSED] ORDER FOR CONTINUANCE AND EXCLUSION OF TIME UNDER THE
                SPEEDY TRIAL ACT, 18 U.S.C. § 3161 ET. SEQ.
                CASE NO. CR 06-0336-SBA
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           1 set for June 27, 2006 before Judge Armstrong. It serves the interests of efficiency and
           2 judicial economy to hold a single Status/Trial Setting hearing for Messrs. Armstrong,
           3 Hastings and Grant, rather than two separate hearings two weeks apart.
           4            Moreover, the government has indicated that there is substantial discovery that it will
           5 produce shortly. Mr. Armstrong’s counsel would benefit from the opportunity to review
           6 this discovery and continue his investigation prior to a Status/Trial Setting hearing. For
           7 these reasons, Mr. Armstrong requests a continuance of the hearing date until June 27,
           8 2006.
           9 II.        STIPULATION
          10            The United States, by its counsel Alicia Fenrick, Esq., and Daniel Armstrong, by his
          11 attorney, Michael E. Liftik, Esq., stipulate as follows:
          12            1.       That Mr. Armstrong’s Status/Trial Setting hearing scheduled for June 13,
          13 2006 at 9:00 a.m., before the Honorable Saundra Brown Armstrong, be vacated.
          14            2.       That Mr. Armstrong’s Status/Trial Setting hearing be held on June 27, 2006 at
          15 9:00 a.m. and concurrently with Mr. Hastings’s and Mr. Grant’s Status/Trial Setting
          16 hearing.
          17            3.       That the period between June 13, 2006, and June 27, 2006, shall be
          18 excludable time under the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A) and (B)(iv), on the
          19 grounds that additional time is needed for review of discovery and investigation, and it
          20 serves the interests of judicial economy and efficiency to hold a single Status/Trial Setting
          21 hearing for defendants Armstrong, Hastings, and Grant.
          22            4.       For the foregoing reasons, the parties stipulate and agree that the ends of
          23 justice served by the continuance requested herein outweigh the best interests of the public
          24 and the defendant in a speedy trial because the failure to grant such a continuance would
          25 deny counsel for the defendant reasonable time necessary for effective preparation.
          26
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Heller     28
Ehrman LLP
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                STIPULATION AND [PROPOSED] ORDER FOR CONTINUANCE AND EXCLUSION OF TIME UNDER THE
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                CASE NO. CR 06-0336-SBA
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           1 DATED: June 9, 2006                     Respectfully submitted,
           2                                             HELLER EHRMAN LLP
           3
           4                                             By__________/S/_______________________
                                                                     MICHAEL E. LIFTIK
           5
                                                         Attorneys for Defendant
           6                                             DANIEL ARMSTRONG
           7
           8                                             By___________________________________
                                                                      ALICIA FENRICK*
           9                                             Assistant United States Attorney
          10
             * I, Michael E. Liftik, attest that Alicia Fenrick has read and approved the STIPULATION
          11 AND [PROPOSED] ORDER FOR CONTINUANCE AND EXCLUSION OF TIME
             UNDER THE SPEEDY TRIAL ACT, 18 U.S.C. § 3161 ET. SEQ. and consents to its filing
          12 in this action.
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Heller     28
Ehrman LLP
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                STIPULATION AND [PROPOSED] ORDER FOR CONTINUANCE AND EXCLUSION OF TIME UNDER THE
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                CASE NO. CR 06-0336-SBA
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           1
                                                   FINDINGS AND ORDER
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                        Based on the reasons provided in the stipulation of the parties above, the Court
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                hereby FINDS:
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                        1)       The ends of justice served by the granting the continuance requested herein
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                outweigh the best interests of the public and the defendant in a speedy trial.
           6
                        2)       The failure to grant the continuance requested herein would deny counsel for
           7
                the defendant the reasonable time necessary for effective preparation, taking into account
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                the exercise of due diligence.
           9
                        3)       Granting the continuance requested herein would serve the interests of
          10
                efficiency and judicial economy so that a single Status/Trial setting hearing can be held at
          11
                this time.
          12
                        Based on these findings, IT IS HEREBY ORDERED THAT:
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                        1)       The hearing set for June 13, 2006, scheduled at 9:00 a.m. before the
          14
                Honorable Saunda Brown Armstrong be vacated and reset for June 27, 2006 at 9:00 a.m.
          15
                        2)       Time be excluded under the Speedy Trial Act from June 13, 2006 to June 27,
          16
                2006.
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          19
                IT IS SO ORDERED
          20
          21
                DATED: 6/13/06
          22
                                                                ________________________________
          23                                                    THE HONORABLE SAUNDRA BROWN
                                                                ARMSTRONG
          24                                                    UNITED STATES DISTRICT JUDGE
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          27
Heller     28
Ehrman LLP
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                STIPULATION AND [PROPOSED] ORDER FOR CONTINUANCE AND EXCLUSION OF TIME UNDER THE
                SPEEDY TRIAL ACT, 18 U.S.C. § 3161 ET. SEQ.
                CASE NO. CR 06-0336-SBA
